                  Case 1:24-cv-02905-JEB                   Document 1-13         Filed 10/14/24        Page 1 of 2

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                                      81,7('67$7(6',675,&7&2857
                                                                   IRUWKH
                                                           District of Columbia
                                                     BBBBBBBBBB'LVWULFWRIBBBBBBBBBB

                 Standing Rock Sioux Tribe




                            3ODLQWLII V
                                 Y                                          &LYLO$FWLRQ1R
           U.S. Army Corps of Engineers, et al.




                           'HIHQGDQW V


                                                     SUMMONS IN A CIVIL ACTION

7R 'HIHQGDQW¶VQDPHDQGDGGUHVV U.S. Army Corps of Engineers
                                          441 G Street NW
                                          Washington, DC 20314-1000




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
3 D  RU  ²\RXPXVWVHUYHRQWKHSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQXQGHU5XOHRI
WKH)HGHUDO5XOHVRI&LYLO3URFHGXUH7KHDQVZHURUPRWLRQPXVWEHVHUYHGRQWKHSODLQWLIIRUSODLQWLII¶VDWWRUQH\
ZKRVHQDPHDQGDGGUHVVDUH Jeffrey C. Parsons
                                          Parsons Law Office
                                          2205 W. 136th Avenue, Suite 106-311
                                          Broomfield, CO 80023



       ,I\RXIDLOWRUHVSRQGMXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHIGHPDQGHGLQWKHFRPSODLQW
<RXDOVRPXVWILOH\RXUDQVZHURUPRWLRQZLWKWKHFRXUW



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'DWH
                                                                                          6LJQDWXUHRI&OHUNRU'HSXW\&OHUN
                   Case 1:24-cv-02905-JEB                    Document 1-13         Filed 10/14/24             Page 2 of 2

$2 5HY 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU QDPHRILQGLYLGXDODQGWLWOHLIDQ\
 ZDVUHFHLYHGE\PHRQ GDWH                                           

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW SODFH
                                                                                 RQ GDWH                              RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK QDPH
                                                                  DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ GDWH                                 DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ QDPHRILQGLYLGXDO                                                                        ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI QDPHRIRUJDQL]DWLRQ
                                                                                 RQ GDWH                              RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                               RU

           u 2WKHU VSHFLI\ 
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           0\IHHVDUH                            IRUWUDYHODQG                  IRUVHUYLFHVIRUDWRWDORI          0.00          


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                              6HUYHU¶VVLJQDWXUH



                                                                                            3ULQWHGQDPHDQGWLWOH




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